1844 Rev. 9GASE 1:25-cv-00165-RDA-IDD CIRGUKROMER SEitRItG1/30/25

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

L (a) PLAINTIFFS

CHRISTOPHER JOHNSON and SHELBY ZELONIS ROBERSON,
individually and on behalf of all others similarly situated,

(b) County of Residence of First Listed Plaintiff Fairfax County, VA
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS
ACXIOM LLC

({c) Attorneys (Firm Name, Address, and Telephone Number)
Steven T. Webster, Webster Book LLP

2300 Wilson Blvd., Suite 728, Arlington, VA 22201
(888) 987-9991, swebster@websterbook.com

NOTE:

Attorneys (If Known)

County of Residence of First Listed Defendant

Faulkner County, AR

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

O 1 US. Government

Plaintiff

O 2 U.S. Government

Defendant

11 3 Federal Question

(U.S. Government Not a Party)

4 Diversity

(Indicate Citizenship of Parties in Item III)

(For Diversity Cases Only)

Wil. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State x1 0 1 Incorporated or Principal Place o4 O04
of Business In This State
Citizen of Another State O 2 (&€ 2 Incorporated and Principal Place o5 &s5
of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation o06 oO6

Foreign Country

IV. NATURE OF SUIT (iace an “x” in One Box Only)

[ CONTRACT TORTS
0 110 Insurance PERSONAL INJURY PERSONAL INJURY
O 120 Marine © 310 Airplane 0 365 Personal Injury -

0 130 Miller Act
1 140 Negotiable Instrument

C1 150 Recovery of Overpayment
& Enforcement of Judgment

C1 151 Medicare Act

C1 152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

O 153 Recovery of Overpayment

of Veteran’s Benefits
C1 160 Stockholders’ Suits
O 190 Other Contract

C1 195 Contract Product Liability

1 196 Franchise

FORFEITURE/PENALTY

Click here for: Nature o'
BANKRUPTCY

r Suit Code Descriptions.
OTHER STATUTES ]

0) 625 Drug Related Seizure
of Property 21 USC 881

1 422 Appeal 28 USC 158
1 423 Withdrawal

0 375 False Claims Act
0 376 Qui Tam (31 USC

[ REAL PROPERTY

0) 210 Land Condemnation

O 220 Foreclosure

O 230 Rent Lease & Ejectment
0 240 Torts to Land

0 245 Tort Product Liability
O 290 All Other Real Property

0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))

Liability O 367 Health Care/ 0 400 State Reapportionment
0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 10 410 Antitrust

Slander Personal Injury © 820 Copyrights 0 430 Banks and Banking
0 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce

Liability CO 368 Asbestos Personal CO 835 Patent - Abbreviated C1 460 Deportation
0 340 Marine Injury Product New Drug Application {0 470 Racketeer Influenced and
0) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations

Liability PERSONAL PROPERTY LABOR SOCTAL SECURITY © 480 Consumer Credit
1 350 Motor Vehicle 1 370 Other Fraud 0 710 Fair Labor Standards C1 861 HIA (1395ff) (15 USC 1681 or 1692)
C355 Motor Vehicle OC 371 Truth in Lending Act O 862 Black Lung (923) C1 485 Telephone Consumer

Product Liability (X 380 Other Personal 1 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
C1 360 Other Personal Property Damage Relations OC 864 SSID Title XVI 1 490 Cable/Sat TV

Injury 1 385 Property Damage 740 Railway Labor Act 1 865 RSI (405(g)) OC 850 Securities/Commodities/
C1 362 Personal Injury - Product Liability 0 751 Family and Medical Exchange

Medical Malpractice Leave Act 1 890 Other Statutory Actions

CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS O 891 Agricultural Acts

O 440 Other Civil Rights Habeas Corpus: 0) 791 Employee Retirement 0 870 Taxes (U.S. Plaintiff 0 893 Environmental Matters
0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) ©) 895 Freedom of Information
O 442 Employment 1 510 Motions to Vacate 1 871 IRS—Third Party Act
D443 Housing/ Sentence 26 USC 7609 O 896 Arbitration

Accommodations O 530 General O 899 Administrative Procedure
0 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION Act/Review or Appeal of

Employment Other: O 462 Naturalization Application Agency Decision
CO 446 Amer. w/Disabilities - | 540 Mandamus & Other {0 465 Other Immigration QO 950 Constitutionality of

Other 550 Civil Rights Actions State Statutes
0 448 Education C1 555 Prison Condition

0 560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

1 Original, O2 Removed from © 3  Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. 1332(d)

Brief description of cause:
State law claims under Va. Code §§ 18.2-216.1 and 8.01-40

VII. REQUESTED IN (@ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 5,000,001.00 JURYDEMAND: Yes ONo
VII. RELATED CASE(S)
(See instructions):
IF ANY fe instructions): GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
01/30/2025 /s/ Steven T. Webster
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

